Case 3:24-cv-01762-OAW Document16-11 Filed 11/15/24 Pagelof2

From: David <legacypoolrenovations@gmail.com>
Sent: Tuesday, May 28, 2024 2:34 PM

To: CPTnS Info <info@cptns.com>

Subject: Re: Message from Legacy Renovations

Hi Alaric,

Could you send me a picture of the current lot number of the similar 6x12 tile?

| am the owner of Shoreline pools out of Stamford CT which we order many products. We have branched off to a new
name called legacy.

Thanks

Dave L
Case 3:24-cv-01762-OAW Document16-11 Filed 11/15/24

> On May 28, 2024, at 2:16 PM, CPTnS Info <info@cptns.com> wrote:
>

> Dave,

>

> We no longer have lot 1039-21 in the CT VE 1261 6x12 grotto rodio.
> If you want, we can send you a sample of our current lot number.

>

> Also, how did you hear about us and that specific lot number?

> We do not see that you have purchased from us in the past.

>

> Thanks,

> Alaric

> From: David <legacypoolrenovations@ gmail.com>

> Sent: Tuesday, May 28, 2024 2:12 PM

> To: info@cptns.com

> Cc: legacypoolrenovations@gmail.com

> Subject: Message from Legacy Renovations

>

> Hello,

>

>| would like to purchase 9 box’s of 6” x 12” Venice grotto Rodio. Lot 1039-21
>

> Legacy Renovations & pool service Inc

> 21 Diamond Avenue, Bethel CT 06801

>

> Please provide me any forms | will need to fill out and send back to you for payments.
>

> Thank you,

> Cell-203.554.1494

> Dave L

>

VVVV VM

Page 2 of 2
